Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 1 of 14 Page|D 102

Fu£t) sav B!SZ D.C.
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEEUS JUN 20 PH 14='1+2

EASTERN DIVISION
Roeem' r_=e. 05 THOL¢O

c~+-ul

wm oi= t`N, M%'MPH|`B

DEMUS RICH and wife, MELBA
RICH, individually and as

Executors of the Estate of
GARY BRIAN RICH, deceased,

No. 1:02-1222 T[P
Plaintiffsl

vS¢

CITY OF SAVANNAH, TENNESSEE,
et al.,

vv\_/b_¢\-r\\.r\.¢v\_¢\_¢v\_¢\_d~_¢

Defendants.

 

ORDER DENYING PLAINTIFFS' MOTION TO EXCLUDE THE TESTIMONY OF
DANNY FRANKS, DAVID CAGLE, JOHN OVERTON, AND JOSEPH PETERS, M.D.,
AND ALLOWING PLAINTIFFS TO DEPOSE WITNESSES OUTSIDE THE PERIOD OF

DISCOVERY

 

Before the court is plaintiffs Demus and Melba Rich's Motion
to Exclude the Testimony of Danny Franks, David Cagle, John
OVerton, and Joseph Peters, M.D., filed on April 29, 2005 (dkt
#120). Defendants filed their response on May 25. The matter was
referred to the Magistrate Judge for disposition. On June 8, 2005,
the court held a hearing on the motion. Counsel for all parties
were present and heard. For the reasons below, the motion to
exclude is DENIED. However, the court will permit the plaintiffs

to take the depositions of witnesses Franks and Cagle outside the

Period of discovery. Furthermore, the plaintiffs shall be awarded
Thts document entered art the duc»<tt sheet na tt… t,.- . , OO
with Ftule 58 and/or 79(3} FRCP on fg 2/'@-) /

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 2 of 14 Page|D 103

attorney’s fees and expenses associated with the filing of this
motion and counsel's participation at the June 8 hearing.
I. BACKGROUND

Plaintiffs Demus Rich and Melba Rich (“Plaintiffs”), as
executors of the estate of their son Gary Brian Rich (“Rich"),
filed this action pursuant to 42 U.S.C. § 1983, alleging that the
City of Savannah, Tennessee, the Chief of Police of the Savannah
Police Department (“SPD”), and seven SPD officers violated Rich's
federal and state constitutional rights. Plaintiffs also assert a
state law negligence claim.

This lawsuit arises from an altercation between Rich and SPD
officers on. August 24, 2001. On that date, SPD received an
emergency phone call, in which the caller stated that a woman had
been stabbed. Officers responding to the call found Amy Rich
{“Amy”) at her neighbor's home, where she was being treated by
emergency medical service personnel for stab wounds. Amy informed
the officers that she had been stabbed by her husband, Gary Rich.
She indicated to the officers that she believed her husband was at
their home.

SPD Officers Terry W. Hosea, T.J. Barker, Victor W. Cherry,

and John Sylvester went to the Rich home, and found Rich sitting on

his couch. Rich was holding a knife and did not respond to
commands from the officers. The four officers then sprayed Rich
with mace. The officers moved back outside the home and secured

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 3 of 14 Page|D 104

the perimeter. Along with Officers Tim Kelley, Larry Phelps, Allen
Snelling, and a police canine, the four officers re-entered Rich’s
home and confronted him. Once again, Rich did not comply with the
officers' demands, at which time they proceeded to restrain him.
Plaintiffs allege that the officers first disabled Rich by spraying
him with a fire hose, and then proceeded to beat, hit, kick, and
force Rich into submission. Rich later died, and Plaintiffs claim
that his death was a result of the officers' excessive force.
Plaintiffs' motion presently before the court seeks to exclude
four defense witnesses from testifying at trial: Danny Franks,
David Cagle, Joseph Peters, M.D., and John Overton. Franks and
Cagle were identified as both expert and lay witnesses by the
defendants in their supplemental Rule 26 disclosures on October 22,
2004, which was one week after the deadline set for completing
depositions for all fact witnesses. The supplemental Rule 26
disclosure noted that Franks’s and Cagle's expert reports would be
provided at a later date. Defendants identified Dr. Peters and
Overton as expert witnesses expected to testify at trial in another
supplemental Rule 26 Disclosure on January 22, 2005. Plaintiffs
argue that all four individuals should be excluded from testifying
at trial, either because they are expert witnesses and to date have
not disclosed any expert reports as required under Rule
26(a)(2)(B), or because they are non-expert witnesses who

defendants should have disclosed to the plaintiffs well before the

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 4 of 14 Page|D 105

close of discovery, as required under Rule 26(a)(1)(A). Defendants
disagree, arguing that the witnesses are not experts and,
furthermore, that the defendants had good cause for not timely
disclosing the witnesses.

II. ANALYSIS
A. Whether Witnesses Will Provide Expert Testimony

In order to determine whether these four witnesses should be
excluded from testifying at trial because the defendants failed to
disclose their expert reports, the court must first decide whether
they are, in fact, expert witnesses. A person is designated as an
expert or lay witness based on the substance of his or her
testimony. See Lamere v. New York State Office for the Aqinq, No.
03-0356, 2004 WL 1592669, at *l (N.D.N.Y. July 14,
2004)(unpublished); Hawkins v. Graceland, 210 F.R.D. 210, 211 (W.D.
Tenn. 2002); see also Fed. R. Evid. 701 advisory committee notes
(“The amendment does not distinguish between expert and lay
witnesses, but rather between expert and lay testimony.”)

Federal Rules of Evidence 701 and 702 govern the admissibility
of lay and expert opinion testimony. Lay testimony is “rationally
based on the perception of the witness.” Fed. R. Evid. 701.
Expert testimony, however, is based on scientific, technical, or
other specialized knowledge. gee Fed. R. Evid. 702. For example,
a nurse could testify as a lay witness that a skin injury appeared

to be the result of a cigarette burn, but a court would have to

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 5 of 14 Page|D 106

qualify a paramedic as an expert before the paramedic could testify
that certain bruises are indicative of skull trauma. See State v.

Brown, 836 S.W.Zd 530, 549 (Tenn. 1992).1

 

Based on the record presently before this court, the court
finds that none of the anticipated testimony by these four
witnesses constitutes expert testimony. Franks is a professional
photographer who took various photographs of the inside and outside
of the Rich house on June 9, 2004. According to the defendants,
Franks will testify about when and how the photographs were taken
and lay a foundation for the admission of those photographs as
evidence at trial. He will also testify' about his personal
observations about what he could see inside the Rich house while
standing at various locations both outside and inside the home.
His anticipated testimony will be limited to his own personal
observations while taking the photographs. The mere fact that
Franks is a professional photographer does not make his testimony
expert in nature. Anyone with a camera has the ability to take
photographs of the Rich home. Therefore, his anticipated testimony
does not amount to expert testimony.

Cagle, an engineer, drew a floor plan of the Rich home, which
the defendants intend to offer as evidence at trial. In order to

draw the floor‘ plan, Cagle measured_ the dimensions of rooms,

 

lThe holding of this case was incorporated into the 2000
amendments to Rule 701. See Fed. R. Evid. 701 advisory committee
notes.

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 6 of 14 Page|D 107

doorways, and windows in the home. Although Cagle inputted his
measurements into a computer program that was used to draw the
floor plan, the floor plan could have been drawn by anyone with a
measuring tape and straight-edge tool. The addition of “sight
lines” does not add to the complexity of the plan or require
specialized skill, as they are merely straight lines drawn from
specific points within the home to areas outside the home. Cagle's
anticipated.testimony, according to the defendants, will be limited
to laying a foundation for the floor plan and, like Franks, Cagle
will testify about his personal observations while standing at
various locations outside and inside the house. Because this
testimony does not involve any scientific, technical, or
specialized knowledge, it also is not expert testimony.2

Dr. Peters was Rich's treating physician for a period of time
prior to the August 24 incident. According to the defendants, he
will only testify about his treatment of Rich, the results of that
treatment, and Rich’s medical condition while under Dr. Peters’s
medical are. It is well established that a treating physician may
testify about “opinions formed during the course of treatment”
without being classified as an expert witness, but “with regard to

opinions based on information not learned during the course of

 

2The court notes that the issue of whether Franks’s or
Cagle's testimony (and their accompanying photographs and floor
plan diagram) is admissible as evidence at trial is not before
the court and, therefore, is not addressed in this order.

6

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 7 of 14 Page|D 108

treatment, a physician must comply with the rules regarding expert
disclosure.” Lewis v. Triborough Bridge and Tunnel Auth., No. 97-
0607, 2001 WL 21256, at *l (S.D.N.Y. Jan. 9, 2001)(unpublished);
see also Mohnev v. U.S. Hockev, Inc., 300 F.Supp.2d 556, 560-62
(N.D. Ohio 2004); Hawkins v. Graceland, 210 F.R.D. 210, 211 (W.D.
Tenn. 2002); Peck v. Hudson Citv School Dist., 100 F.Supp.2d 118,
121 (N.D.N.Y. 2000). Defendants assert that Dr. Peters’s testimony
will be limited to his medical treatment of Rich while Rich was his
patient during a period of time prior to the August 24 incident.
Therefore, he will not provide any expert testimony.3

Overton is an assistant district attorney in Hardin County,
where the City of Savannah is located. Plaintiffs have indicated
that they will call a damages expert witness at trial who will
testify about the probable earning capacity of Rich if he had not
died. Defendants, however, note that the expert's report fails to
reduce Rich’s potential future earnings by the years that Rich
would have been incarcerated had he been convicted of stabbing Amy
Rich. According to the defendants, Overton will testify, based on
his experience as an assistant D.A., about the potential criminal

charges that may have been brought against Rich, and if convicted,

the potential sentences under Tennessee law that Rich could have

 

3At the June 8 hearing, the plaintiffs conceded that if Dr.
Peters will only testify about his medical treatment of Rich
prior to the August 24 incident, then he would not have to be
qualified as an expert at trial.

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 8 of 14 Page|D 109

received had he been convicted ofA stabbing Amy Rich. His
testimony, defendants contend, will not include his opinion about
the probability of conviction, but rather will involve the possible
charges and sentences available, if convicted. The court finds
that such testimony does not qualify as expert testimony.

Even assuming, arguendo, that Overton will give expert
testimony at trial, his disclosure as an expert is governed by
Fed.R.Civ.P. 26(a)(2)(A), not 26(a)(2)(B) as plaintiffs argue.
Defendants have subpoenaed Overton to testify at trial. Defendants
have not retained Overton as an expert, nor is he an employee who
regularly gives expert testimony. Therefore, he does not fall
within the scope of Rule 26(a)(2)(B), and thus need not produce an
expert report in order to testify at trial. See Indem. Ins. Co. of
N. Am. v. Am. Eurocopter. LLC, __ F.D.R. ___, 2005 WL 1027089, at
*2 (M.D.N.C. March 10, 2005)(unpublished); gpllin§_y;_§g;lgw, 188
F.Supp.2d 660, 661-62 (S.D.W.V. 2002); Peck v. Hudson City School
QLJ 100 F.Supp.2d llS, 121 (N.D.N.Y. 2000).

B. Timeliness of the Disclosures

Both Franks and Cagle were disclosed on October 22, 2004, one
week after the October 15 deadline for deposing fact witnesses set
in the amended Rule 16 scheduling order. Dr. Peters and Overton

were not disclosed as “experts” until January 22, 2005, more than

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 9 of 14 Page|D 110

one month after the December 15 deadline for disclosing experts.4

Rule 16(f) states,

If a party or party's attorney fails to obey a scheduling
or pretrial order, . . . the judge, upon motion or the
judge’s own initiative, may make such orders with regard
thereto as are just, and among others any of the orders
provided in Rule 37(b)(2)(B), (C), (D). In lieu of or in
addition to any other sanction, the judge shall require
the party or the attorney representing the party or both
to pay the reasonable expenses incurred because of any
noncompliance with this rule, including attorney’s fees,
unless the judge finds that the noncompliance was
substantially justified or that other circumstances make
an award of expenses unjust.

In the present case, Franks and Cagle were disclosed one week
after the deadline for deposing fact witnesses, and the court finds
that the defendants’ explanations for the untimely disclosure do
not excuse their noncompliance with the amended scheduling order.
Defendants contacted Franks several months before disclosing him to
the plaintiffs, as evidenced by the fact that he took photographs
of the Rich home on June 9, 2004. Similarly, Cagle prepared a
floor plan of the Rich. home which. was dated June 10, 2004.
Defendants knew about both of these witnesses several months prior

to the close of discovery, and should have disclosed these

 

4Overton was first identified in the defendants' initial
disclosures in March 2003, well before the close of discovery.
However, the plaintiffs believed that the reason he was disclosed
by the defendants as someone with discoverable information under
Rule 26(a)(1) was because he had information about the District
Attorney's Office's investigation of the excessive charge
allegations against the officers - not information about the
potential charges that may have been brought against the
deceased.

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 10 of 14 Page|D 111

individuals earlier than October 22.

This situation was made more problematic by the fact that
Franks and Cagle were disclosed as both lay and expert witnesses.
Under Rule 26(b)(4), a party cannot depose the opposing party's
expert until after the report is provided. Thus, the plaintiffs
were precluded from deposing Franks and Cagle until they produced
a report. As it turns out, neither Franks nor Cagle are expert
witnesses and neither of them are required to provide a report.
Nevertheless, by disclosing them as experts initially, the
plaintiffs were effectively barred from deposing them.

With respect to Dr. Peters. the defendants first learned of
him (according to the plaintiffs) during the deposition of
plaintiff Melba Rich on. May 18, 2004. Defendants eventually
obtained medical records in discovery that included progress notes
from Dr. Peters. Defendants contend that they could not have
disclosed Dr. Peters as a witness earlier than January 22, and even
if they could have, the untimely disclosure does not prejudice the
plaintiffs because he was Rich's own treating physician, so the
plaintiffs knew about him a long time ago. The court agrees with
the defendants that the disclosure of Dr. Peters was not untimely,
and even if it were, defendants have shown good cause for the late
disclosure. Plaintiffs knew about Dr. Peters at least as early as
May 18, and although the January 22 expert disclosure arguably

prohibited the plaintiffs from deposing him after that date,

10

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 11 of 14 Page|D 112

nothing prevented the plaintiffs from deposing him prior to the
close of discovery.

Regarding Overton, the defendants subpoenaed him to testify at
trial after the plaintiffs submitted an expert report calculating
Rich's earning capacity without deducting any potential salary Rich
would not have received if he were convicted and incarcerated for
stabbing Amy Rich. Defendants first disclosed Overton to the
plaintiffs in March 2003 as a person who may have knowledge
pertaining to this case. As with Dr. Peters, the plaintiffs could
have deposed Overton before the close of discovery. The fact that
the defendants want to have him testify about possible charges and
sentences, as opposed to the excessive force investigation of the
officers, does not make the disclosure untimely. The court
concludes that the plaintiffs had timely notice of Overton.

C. Appropriate Sanctions

Having found that the defendants' disclosures of Franks and
Cagle were untimely, the court must now determine the appropriate
sanction. Plaintiffs seek exclusion of testimony by these
individuals. The sanction of exclusion, however, is considered
drastic. Freeland v. Amigo, 103 F.3d 1271, 1280 (6th Cir. 1997);

K.M.C. Co., Inc. v. Irving Trust Co., 757 F.2d 752, 765 (6th Cir.

1985). Exclusion of relevant evidence defeats “the truth-seeking
function of trial.” Bowling v. Vose, 3 F.3d 559, 562 (1st Cir.
1993). Thus, it should only be used when other lesser sanctions

ll

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 12 of 14 Page|D 113

are inadequate to remedy the offensive actions.

This court finds that exclusion of the testimony of these
individuals would be too severe, but a lesser sanction is
warranted. Therefore, the court shall permit the plaintiffs to
depose Franks and Cagle prior to trial. Moreover, because the
defendants could have and should have disclosed Franks and Cagle at
an earlier time, the court will require the defendants to reimburse
the plaintiffs for their attorney's fees and expenses associated
with the filing of this motion and counsel’s participation at the
June 8 hearing.

I I I . CONCLUS ION

For the reasons above, the motion to exclude is DENIED.
Plaintiffs may depose Frank and Cagle prior to trial. The
defendants shall take all reasonable steps to make these witnesses
available for deposition as soon as possible. Plaintiffs shall
file an affidavit within seven (7) days from the date of this
order, with a copy served on the defendants, setting forth the
attorney's fees and expenses associated with filing this motion and
counsel's participation at the June 8 hearing. If the defendants
oppose any portion of those fees, they shall file their objections

within seven (7) days after receipt of service of the affidavit.

12

Case 1:02-Cv-01222-.]DT Document 160 Filed 06/20/05 Page 13 of 14 Page|D 114

Mil

TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

:t”uvw_ 7/0 ;005'

Dat€

13

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 160 in
case 1:02-CV-01222 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

ESSEE

 

Milton Dale Conder

RAINEY KIZER REVIERE & BELL

105 S. Highland Ave.
P.O. ch 1147
Jackson, TN 38302--114

.1 ames A. Hopper
HOPPER & PLUNK
P.O. ch 220
Savannah, TN 38372

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. ch 679

1\/1ilan7 TN 38358

Fred Collins

FLIPPIN COLLINS & H[LL, PLLC
P.O. ch 679

1\/1ilan7 TN 38358

Andrew C. Clarke
BAILEY & CLARKE
6256 Pcplar Avenue
1\/lemphis7 TN 38119

.1 ohn C. Duffy

WATSON & HOLLOW
P.O. ch 131

Knoxville7 TN 37901--013

Honcrable .1 ames Tcdd
US DISTRICT COURT

